
669 S.E.2d 321 (2008)
TERRY'S FLOOR FASHIONS, INC.
v.
CROWN GENERAL CONTRACTORS, INC. and Jerry Shumate Alvis.
No. 362A07.
Supreme Court of North Carolina.
December 12, 2008.
Ragsdale Liggett, PLLC, by Walter L. Tippett, Jr. and Caroline V. Barbee, Raleigh, for plaintiff-appellee.
Young Moore and Henderson, P.A., by David M. Duke and Shannon S. Frankel, Raleigh, for defendant-appellant Jerry Shumate Alvis.
PER CURIAM.
AFFIRMED.
